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 1 McGREGOR W. SCOTT
   United States Attorney
 2 MARK J. McKEON
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00051-LJO-SKO
11
                                  Plaintiff,             FIRST AMENDED ORDER RE SEIZED FUNDS
12
                            v.
13
     RAUL OROPEZA LOPEZ, and
14   ANA MARIA OROPEZA,

15                                Defendants.

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17          On October 2, 2017, plaintiff United States of America and defendants Raul Oropeza Lopez

18 and Ana Maria Oropeza entered into plea agreements in which the defendants agreed to the disposition

19 of assets seized in this case. On May 16, 2019, the Court entered an order entitled Order re Seized

20 Funds which implemented the parties’ agreed disposition of the funds. ECF No. 75. The parties now

21 request that the Court further specify the allocation of the Seized Funds towards the defendants’ joint

22 and several restitution obligations. The Court agrees that further specificity is warranted.

23 Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

24          1.      The following assets seized in this case shall be turned over to the Clerk of the Court for

25 payment towards any restitution judgment entered against defendants RAUL OROPEZA LOPEZ and

26 ANA MARIA OROPEZA (hereinafter referred to as “Seized Funds”):
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       FIRST AMENDED ORDER RE SEIZED FUNDS               1
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 1                  1.     Approximately $90,502.00 in U.S. Currency seized from Union Bank safe deposit

 2                         box number W9125, held in the names of Raul Oropeza and Ana Oropeza;

 3                  2.     Approximately $33,177.29 seized from Union Bank account number

 4                         4011668243, held in the name of Raul Oropeza;

 5                  3.     Approximately $30,000.00 seized from Bank of the Sierra account number

 6                         1710061570, held in the name of Raul Oropeza; and

 7                  4.     Approximately $13,513.00 in U.S. Currency.

 8          2.      Upon entry of this order, the custodial or seizing agency of the Seized Funds shall deliver

 9 the Seized Funds to the Clerk of the Court, 2500 Tulare Street, Suite 4401, Fresno, California 93721.

10 Any negotiable instruments shall be endorsed to the Clerk of the Court, and made payable thereto.

11          3.      Upon entry of this order, $64,282 of the Seized Funds shall be applied to defendant Ana

12 Maria Oropeza's joint and several restitution order, which will satisfy her criminal monetary penalty

13 obligation in full. The remaining $102,910.29 shall be applied to defendant Raul Oropeza Lopez’s

14 criminal debt.

15 IT IS SO ORDERED.

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        Dated:      May 28, 2019                             /s/ Lawrence J. O’Neill _____
17                                                UNITED STATES CHIEF DISTRICT JUDGE

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      FIRST AMENDED ORDER RE SEIZED FUNDS                2
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